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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-00387-CMA-NRN

DARLENE GRIFFITH,

Plaintiff,

v.

EL PASO COUNTY, COLORADO,
WELLPATH, LLC,
CHRISTINE MOHR, in her individual capacity,
DOCTOR JANE ROE, in her individual capacity,
SHERIFF BILL ELDER, in his individual and official capacities,
COMMANDER CY GILLESPIE, in his individual capacity,
DEPUTY JOHN DOE, in his individual capacity,
DEPUTY JANE DOE, in her individual capacity,
DEPUTY F/N/U DRAPER, in his individual capacity,

Defendants.

                                   MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

       It is hereby ORDERED that a Telephonic Discovery Hearing is set for November
23, 2021 at 1:30 p.m. The parties are directed to prepare and email to Chambers by
the close of business on November 22, 2021 a short (no longer than ten pages) joint
statement setting forth each side’s respective position concerning the dispute. The
parties are advised that the joint statement will be attached to the courtroom minutes
and made a part of the record. Counsel for the parties are also directed to jointly call
Court Chambers, 303-335-2403, at the designated time.

Date: November 22, 2021
